                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


CHRISTY A. STANLEY

V.                                              Case No. 8:21-cv-1919-MSS-TGW

UNITED STATES OF AMERICA


                    DEFENSE COUNSEL'S 2255 AFFIDAVIT

      COMES NOW, undersigned counsel, A. FITZGERALD HALL, pursuant

this Court's order for the filing of counsel's affidavit in response to defendant's

Section 2255 Petition and offers the following:

                     INTRODUCTION AND BACKGROUND

      1.     On January 30, 2020, the government filed an Information charging

Ms. Stanley with wire fraud, in violation of 18 U.S.C. §§ 1343 and 2 (Crim. Doc. 1).

Ms. Stanley had consented to the filing of the Information and, thus, waived

indictment, and signed a Plea Agreement in this case (Docs. 2, 3).

      2.     On May 15, 2020, pursuant to a Plea Agreement, Ms. Stanley pleaded

guilty plea to the aforesaid Information (Doc. 18). Ms. Stanley's sentencing was

originally scheduled for Wednesday, September 2, 2020, but this Court granted a

continuance of the sentencing hearing and the new sentencing date was scheduled

for Thursday, October 1, 2020, at 9:30 a.m. (Docs. 24, 31, 32, 33).
      3.       The PSR reflected a total offense level of 20 and a criminal history

category of I (PSR    ,r,r 33,   37, 38, 77). This resulted in an advisory range of

incarceration of 33-41 months (PSR ,r 77).

        4.     On October 1, 2020, after hearing arguments from the parties, this

 Court sentenced Ms. Stanley to 30 months' incarceration (a three-month downward

 variance) followed by three years of supervised release (Docs. 37, 39, 41).

       5.      Ms. Stanley, who claimed to be indigent, has hired private counsel and

has filed a Section 2255 Petition alleging ineffective assistance of counsel (Doc. 60).

                                     LEGAL RESPONSE

       6.      Undersigned counsel has been contacted by the United States Attorney's

Office regarding this matter and, upon order of this Court (Civ. Doc. 2), undersigned

counsel, after a review of Ms. Stanley's file, now responds to Ms. Stanley'

allegations.

       7.      Ground one: Ms. Stanley alleges "Trial counsel was ineffective for

failing to call character witnesses who would have testified to Petitioner's history

and characteristics that would have resulted in a less severe sanction" (Doc. 60,     P-1-
Ms. Stanley's position is a conclusion unsupported by evidence and the established

record for the following reasons:

               a.    First, as outlined above, Ms. Stanley waived indictment and

pleaded to an Information charging her with wire fraud, in violation of 18 U.S.C.

§§ 1343 and 2 (Crim. Docs. 1-3). It should be noted, although Ms. Stanley's current

counsel failed to do so, that undersigned counsel explained to Ms. Stanley her right

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to require the government to obtain an indictment against her rather than waive

indictment and plead to an Information. Ms. Stanley, after proper consultation,

agreed to proceed as she did. Id.

              b.     So, at the outset of her case, and at that time, Ms. Stanley was

facing a maximum of 20 years' incarceration for wire fraud in a case wherein she

worked for her employer as a real estate closing agent and embezzled, i.e., "stole,"

$501,131.30 (Doc. 3, ,i 6, pp. 18-21). See also PSR ,i,i 17, 18, 87. Ms. Stanley never

denied these facts but, in fact, admitted to all of them. Id.

              c.     Furthermore, despite several full consultations prior to

sentencing, Ms. Stanley appeared at sentencing and had not paid one penny towards

the $501,131.30 restitution owed in this case. See generally PSR, Doc. 47. Neither Ms.

Stanley nor her current counsel bring these facts to the Court's attention (Doc. 60).

              d.     Ms. Stanley, through her current counsel, alleges that this Court's

statement that it had "looked at the background and history of this case. I've

considered Title 18, United States Code, Section 3551 and 3553. In accordance

therewith, it is the judgment of this Court that this Petitioner (and "Petitioner" is not

what the Court called Ms. Stanley), is hereby committed to the custody of the

Bureau of Prisons to be incarcerated for a term of 30 months" indicates that "the

Court would have been open to evidence of Petitioner's history and characteristics"

(Doc. 60, ,i,i 16-17).
                                                                                            "




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              e.     This Court was required to state on the record that it had

considered the section 3553(a) factors. See e.g., United States v. Talley, 431 F.3d 784,

786 (11th Cir. 2005) (providing that when the district court considers the factors of

section 3553(a), it need not discuss each of them). See also, United States v. Scott, 426

F.3d 1324, 1329 (11th Cir. 2005) (same), abrogated on other grounds by Rita v. United

States, 551 U.S . 338, 127 S. Ct. 2456 (2007); United States v. Bohannon, 476 F.3d 1246,

1248 (11th Cir. 2007) (same); United States v. McBride, 511 F.3d 1293, 1297 (11th Cir.

2007) (same).

              f.     Furthermore, although the district court must adequately and

properly consider the factors, nothing requires it to state on the record that it has

explicitly considered each of the section 3553(a) factors or to discuss each of the

section 3553(a) factors. Garcia-Enriquez, 664 F. App'x at 767 (citing United States v.

West, 898 F.2d 1493, 1503 (11th Cir. 1990)). See United States v. Dougherty, 754 F.3d

1353, 1359 (11th Cir. 2014) (nothing requires the district court to discuss each of the

section 3553(a) factors and an acknowledgement that it has considered each will

suffice) (citing United States v. Amedeo, 487 F.3d 823, 832 (11th Cir. 2007)). See also,

United States v. Lora, 627 F. App'x 881,885 (11th Cir. 2015) (unpublished opinion)

(district courts do not have to conduct an accounting of every factor or explain the

role each played in the sentencing decision) (citing United States v. Robles, 408 F.3d

1324, 1328 (11th Cir. 2005)). Rather, "the sentencing judge should set forth enough

to satisfy the appellate court that he has considered the parties' arguments and has a



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reasoned basis for exercising his own legal decision-making authority." Lora, 627 F.

App'x at 885 (citing Rita v. United States, 551 U.S. 338, 356, 127 S. Ct. 2456 (2007)).

              g.      Finally, the weight given to each factor in section 3553(a) is a

matter committed to the sound discretion of the district court. United States v.

Barrington, 668 F.3d 1178, 1204 (11th Cir. 2011). See United States v. Garcia-Enriquez,

664 F. App'x 765, 767 (11th Cir. 2016) (unpublished opinion) (stating the weight

given to any specific factor is committed to the sound discretion of the district court

and a district court does not commit reversible error simply because it attaches

significant weight to a single section 3553(a) factor) (citing United States v. Williams,

526 F.3d1312, 1322 (11th Cir. 2008)). "The court must consider all of the Section

3553(a) factors, but it may, in its discretion, give greater weight to some factors over

others." United States v. Rosales-Bruno, 789 F.3d 1249, 1254 (11th Cir. 2015).

              h.      In short, Ms. Stanley's current counsel's position that the Court's

reference to the section 3553(a) factors "indicates the Court would have been open to

evidence of Petitioner's history and characteristics" misses the mark. The Court did

take into consideration Ms. Stanley's history and characteristics, including, but not

limited to, her difficult upbringing and ongoing mental health struggles (see Doc. 47,

p. 39, lines 8-11).

              1.      Ms. Stanley's current counsel also states that undersigned

"counsel refused to call mitigation character witnesses to establish Petitioner's

history and attributes" (Doc. 60, ,r 18). First, the record below establishes all of the



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sentencing mitigation presented on behalf of Ms. Stanley, which included a detailed

Sentencing Memorandum discussing Ms. Stanley's background and characteristics

and the section 3553(a) factors and a Psychological Evaluation. See Docs. 36, 37.

Also, prior to sentencing, undersigned counsel explained to Ms. Stanley that any and

all witnesses she wanted to appear at sentencing and speak on her behalf were

welcome and anyone could write letters of support on her behalf.

               J.     Ms. Stanley's current counsel states "Trial counsel advised

Petitioner that such witnesses were not necessary" (Doc. 60, 119). This claim is

simply not true.

                k.    Ms. Stanley's current counsel states that Ms. Stanley "post

sentencing obtained character letters containing witness's proposed testimony."

Id.,   ,r 20. See also ,r,r 21-31. Again, Ms. Stanley was informed prior to her sentencing
that anyone wanting to write a character letter or letter of support on her behalf could

do so.The fact that Ms. Stanley has now done what she could have done prior to

sentencing is of no moment.

                1.    Ms. Stanley's current counsel conjectures that had this Court had

the character letters suggested "there is a reasonable probability that the Court would

have imposed a less severe sanction" Id.,    ,r,r 32-33. The facts of this case were
serious, and the victims lost not only $501,131.30 but also suffered consequential

damages and reputational injury. Further, Ms. Stanley had paid no restitution

towards this amount by the time of sentencing. This Court granted a slight



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downward variance of three months, but Ms. Stanley's current counsel suggests this

Court would have "possibly" downward varied further had it heard "additional

information about Ms. Stanley's background/life." Current counsel is mistaken. The

victims appeared at the sentencing and expressed the losses they suffered and how

their business was affected. Under the circumstances, and based on undersigned

counsel's experience, Ms. Stanley should be appreciative that this Court did not vary

upward and impose a longer sentence than what she received.

      8.     Ground two: Ms. Stanley alleges "Trial counsel was ineffective for

failing to represent Petitioner's best interests throughout the proceedings where

counsel made several statements indicating that he believed Petitioner should receive

a harsh sentence."

             a.      Undersigned counsel disagrees with Ms. Stanley's position.

Additionally, the record below establishes that Ms. Stanley's interests were both

protected and presented in the best way possible and resulted in her receiving a lesser

sentence and not a harsher sentence especially considering the circumstances. See

Docs. 1-3, 36, Psychological Evaluation.

             b.      Ms. Stanley's current counsel states "During the sentencing

hearing, counsel advocated for a different outcome than that requested by Petitioner"

(Doc. 60, i139). Such a position by Ms. Stanley's counsel is belied by the record as




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the Sentencing Memorandum filed on Ms. Stanley's behalf clearly requested a non-

incarceration sentence (Doc. 36).

               FURTHER AFFIANT SAYETH NAUG




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                Sworn and subscribed before me this 1st day of November 2021 , by Alec F.

Hall,       6        is personally known ~                           nd who did take an oath.

(seal) Notary Public




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